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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


CORECO JA’QAN PEARSON, VIKKI
TOWNSEND CONSIGLIO, GLORIA
KAY GODWIN, JAMES KENNETH                     CIVIL ACTION FILE NO.
CARROLL, CAROLYN HALL FISHER,                 1:20-cv-04809-TCB
CATHLEEN ALSTON LATHAM and
BRIAN JAY VAN GUNDY,

            Plaintiffs,
v.

BRIAN KEMP, in his official capacity as
Governor of Georgia, BRAD
RAFFENSPERGER, in his official
capacity as Secretary of State and Chair of
the Georgia State Election Board, DAVID
J. WORLEY, in his official capacity as a
member of the Georgia State Election
Board, REBECCA N. SULLIVAN, in her
official capacity as a member of the
Georgia State Election Board, MATTHEW
MASHBURN, in his official capacity as a
member of the Georgia State Election
Board, and ANH LE, in her official
capacity as a member of the Georgia State
Election Board,

            Defendants.


     PROPOSED INTERVENORS’ CERTIFICATE OF INTERESTED
       PERSONS AND CORPORATE DISCLOSURE STATEMENT
        Case 1:20-cv-04809-TCB Document 25 Filed 12/01/20 Page 2 of 10




      Proposed Intervenor-Defendants, DEMOCRATIC PARTY OF GEORGIA,

INC., the DSCC, and the DCCC (collectively, the “Democratic Political Party

Committees”), through their undersigned attorneys, hereby submit the following

statement of their corporate interests pursuant to Rule 7.1 of the Federal Rules of

Civil Procedure and Local Rule 3.3, NDGa.

       (1) The undersigned counsel of record for a party to this action
certifies that the following is a full and complete list of all parties to this action,
including any parent corporation and any publicly held corporation that owns
10% or more of the stock of a party:

      • The Democratic Party of Georgia, Inc. (Proposed Intervenor-Defendant),

          which has no parent corporation, nor does a publicly held company own

          any interest in it;

      • The DSCC (Proposed Intervenor-Defendant), which has no parent

          corporation, nor does a publicly held company own any interest in it;

      • The DCCC (Proposed Intervenor-Defendant), which has no parent

          corporation, nor does a publicly held company own any interest in it;

      • Brian Kemp, in his official capacity (Defendant);

      • Brad Raffensperger, in his official capacity (Defendant);

      • Rebecca N. Sullivan, in her official capacity (Defendant);

      • David J. Worley, in his official capacity (Defendant);


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      • Matthew Mashburn, in his official capacity (Defendant);

      • Anh Le, in her official capacity (Defendant);

      • Coreco Ja’qan Pearson (Plaintiff);

      • Vikki Townsend Consiglio (Plaintiff);

      • Gloria Kay Godwin (Plaintiff);

      • James Kenneth Carroll (Plaintiff);

      • Carolyn Hall Fisher (Plaintiff);

      • Cathleen Alston Latham (Plaintiff); and

      • Brian Jay Van Gundy (Plaintiff).

      (2) The undersigned further certifies that the following is a full and
complete list of all other persons, associations, firms, partnerships, or
corporations having either a financial interest in or other interest which could
be substantially affected by the outcome of this particular case:

      • None known.

     (3) The undersigned further certifies that the following is a full and
complete list of all persons serving as attorneys for the parties in this
proceeding:

      Proposed Intervenor-Defendants:

      • Halsey G. Knapp, Jr. of Krevolin & Horst, LLC;

      • Joyce Gist Lewis of Krevolin & Horst, LLC;

      • Susan P. Coppedge of Krevolin & Horst, LLC;


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• Adam M. Sparks of Krevolin & Horst, LLC;

• Marc E. Elias of Perkins Coie LLP;

• Amanda R. Callais of Perkins Coie LLP;

• Kevin J. Hamilton of Perkins Coie LLP;

• Amanda J. Beane of Perkins Coie LLP; and

• Matthew Mertens of Perkins Coie LLP;

Defendants

• Charlene S. McGowan, Assistant Attorney General, Office of the Georgia

   Attorney General; and

• Russell D. Willard, Senior Assistant Attorney General, Office of the

   Georgia Attorney General.

Plaintiffs

• Harry W. McDougald of Caldwell Propst & DeLoach, LLP;

• Sidney Powell of Sidney Powell PC;

• L. Lin Wood, Jr. of L. Lin Wood, P.C.;

• Howard Kleinhendler of Howard Kleinhendler Esquire; and

• Julia Z. Haller.




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Dated: December 1, 2020.            Respectfully submitted,

                                     Adam M. Sparks
                                     Halsey G. Knapp, Jr.
                                     Georgia Bar No. 425320
                                     Joyce Gist Lewis
                                     Georgia Bar No. 296261
                                     Susan P. Coppedge
                                     Georgia Bar No. 187251
                                     Adam M. Sparks
                                     Georgia Bar No. 341578
                                     KREVOLIN AND HORST, LLC
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                              Counsel for Proposed Intervenors-
                              Defendants

                              *Pro Hac Vice Application Pending




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member of the Georgia State Election
Board, REBECCA N. SULLIVAN, in her
official capacity as a member of the
Georgia State Election Board, MATTHEW
MASHBURN, in his official capacity as a
member of the Georgia State Election
Board, and ANH LE, in her official
capacity as a member of the Georgia State
Election Board,

            Defendants.


                      CERTIFICATE OF COMPLIANCE



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      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times

New Roman and a point size of 14.

Dated: December 1, 2020.                    Adam M. Sparks
                                            Counsel for Proposed Intervenor-
                                            Defendants




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              IN THE UNITED STATES DISTRICT COURT
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Georgia State Election Board, MATTHEW
MASHBURN, in his official capacity as a
member of the Georgia State Election
Board, and ANH LE, in her official
capacity as a member of the Georgia State
Election Board,

            Defendants.


                          CERTIFICATE OF SERVICE



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      I hereby certify that on December 1, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a notice of

electronic filing to all counsel of record.

Dated: December 1, 2020.                          Adam M. Sparks
                                                  Counsel for Proposed Intervenor-
                                                  Defendants




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